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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                     4:07CR00130-02-WRW

TOMICA WOODS


                                          ORDER

       The above entitled cause came on for a hearing on July 30,

2009, the Honorable William R. Wilson, presiding, on the Motion to

Revoke     the     Probation   of   the    defendant,     Tomica      Woods.    After

reviewing the matter before the Court, the Motion to Revoke is

DENIED.       Ms. Woods’ term of Probation is modified to add home

confinement with the use of electronic monitoring for a term of

ninety (90) days.         The defendant shall contribute to the cost of

electronic monitoring to the extent that the defendant is deemed

capable by the probation office.             The previously ordered terms and

conditions of Ms. Woods Probation remain in full force and effect.

       Ms. Woods is remanded into the custody of the U.S. Marshal and

is to be detained until the electronic monitoring can be installed.

She will be released to the modified conditions of Probation after

the installation of the electronic monitoring.

       IT IS SO ORDERED this 30th day of July, 2009.


                                                      /s/Wm. R. Wilson, Jr.
                                                  UNITED STATES DISTRICT JUDGE
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